Case 1:15-cv-00075-TWP-MPB Document 32 Filed 04/04/16 Page 1 of 2 PageID #: 108



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 REX CLAY,                                     )
                                               )
               Plaintiff,                      )
                                               )
        vs.                                    )
                                               ) Case No. 1:15-cv-0075-TWP-MPB
 MARTIN MARIETTA MATERIALS,                    )
 INC.,                                         )
          Defendant.                           )
                                               )
                                               )


                 MOTION FOR LEAVE TO WITHDRAW APPEARANCE

        Peter T. Tschanz respectfully requests leave to withdraw his appearance on behalf of

 Defendant Martin Marietta Materials, Inc. Defendant will continue to be represented by Peter A.

 Morse, Jr., of Barnes & Thornburg LLP, who has previously entered his Appearance.

 Accordingly, Defendant’s rights will not be prejudiced by this withdrawal of appearance.

        WHEREFORE, the undersigned counsel respectfully requests that the Court grant this

 Motion for Leave to Withdraw Appearance in the above-captioned matter.
Case 1:15-cv-00075-TWP-MPB Document 32 Filed 04/04/16 Page 2 of 2 PageID #: 109



                                                    Respectfully submitted,


                                                    s/Peter T. Tschanz
                                                    Peter A. Morse, Jr.
                                                    Peter T. Tschanz
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                                                    Indianapolis, Indiana 46204
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                                                    Attorneys for Defendant
                                                    Martin Marietta Materials, Inc.


                                CERTIFICATE OF SERVICE

          I hereby certify that on the 4th day of April, 2016, a copy of the foregoing was

 electronically filed and was served on the following counsel of record by the Court’s electronic

 filing system:

                       John Robert Panico
                       PANICO LAW LLC
                       9465 Counselors Row, Suite 200
                       Indianapolis, IN 46240

                                                    s/Peter T. Tschanz
                                                    Peter T. Tschanz




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